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                                                                          5                              IN THE UNITED STATES DISTRICT COURT
                                                                          6                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              IN RE: CATHODE RAY TUBE (CRT)                       )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                                )
                                                                                                                                  )   Case No. 07-cv-5944 JST
                                                                          9                                                       )
                                                                                                                                  )   ORDER APPROVING CHUNGHWA
                                                                         10   This Order Relates To:                              )   FORMS OF NOTICE
                               For the Northern District of California
United States District Court




                                                                                                                                  )
                                                                         11   All Indirect Purchaser Actions                      )
                                                                                                                                  )
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                                                                         14          This order concerns the forms of notice related to the fairness hearing on the Chunghwa
                                                                         15   settlement plan of allocation.
                                                                         16          The Summary Notice, Detailed Notice, Postcard Notice, and Email Notice to End Users
                                                                         17   submitted by Lead Counsel, ECF No. 4719, are hereby approved.
                                                                         18          IT IS SO ORDERED.
                                                                         19   Dated: July 18, 2016
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                                                                                                                            ______________________________________
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                                                                                                                                           JON S. TIGAR
                                                                         22                                                          United States District Judge

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